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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
KIMBERLY MCNULTY,                                                      :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-8903 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
POLAR CORP.,                                                           :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The conference scheduled for March 29, 2021 at 10:00 a.m. is adjourned sine die.

        SO ORDERED.

Dated: March 23, 2021                                      __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
